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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )          8:10-cr-00394-LSC-TDT
                                                )
BYRON SAUL and                                  )                   ORDER
ANGELA WHITE,                                   )
                                                )
                      Defendants.               )


       This matter is before the court on the Motion to Continue Trial (#39) filed by defendant,
Angela W hite, due to defense counsel's scheduling conflict. The other parties do not object to
a continuance. For good cause shown,

       IT IS ORDERED that the motion to continue trial (#39) is granted, as follows:

       1. The jury trial now set for December 14, 2010 is continued to January 25, 2011.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between December 14, 2010 and January 25, 2011, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

      3. Angela White shall file an affidavit or declaration regarding speedy trial, in
compliance with NECrimR 12.1(a), as soon as is practicable.

       DATED November 23, 2010.

                                              BY THE COURT:

                                              s/ F.A. Gossett, III
                                              United States Magistrate Judge
